     Case 1:03-cr-00400-RWS-ECS Document 180 Filed 12/10/07 Page 1 of 13




               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION


SEAN BROWNLEE,                         :
                                       :
            Movant,                    :    CIVIL ACTION NO.
                                       :    1:06-CV-1188-RWS
v.                                     :
                                       :    CRIMINAL ACTION NO.
UNITED STATES OF AMERICA,              :    1:03-CR-0400-01-RWS
                                       :
            Respondent.                :



                                     ORDER

      This case comes before the Court on Movant’s Motion to Vacate, Set Aside,

or Correct Sentence brought pursuant to 28 U.S.C. § 2255 [167], Movant’s

“Motion Requesting Judicial Notice” [174], Movant’s Second Motion to Vacate,

Set Aside, or Correct Sentence [177], Movant’s Motion to Proceed in Forma

Pauperis [178], and Movant’s Motion for Reduction of Sentence [179] under 18

U.S.C. § 3582(c)(2). After reviewing the entire record, the Court enters the

following Order.

                                   Background

      Movant was accused by a superceding indictment [84] on July 27, 2004, of

five counts of drug trafficking. On August 17, 2004, he pled guilty to one of the
    Case 1:03-cr-00400-RWS-ECS Document 180 Filed 12/10/07 Page 2 of 13




counts. (Guilty Plea and Plea Agreement [104].) The Government, pursuant to a

plea agreement, dismissed the remaining four charges, and Movant agreed to waive

certain rights to appeal his sentence. (See id.) The Plea Agreement provided,

inter alia:

              LIMITED WAIVER OF APPEAL: To the maximum
              extent permitted by federal law, the defendant voluntarily
              and expressly waives the right to appeal his sentence and
              the right to collaterally attack his sentence in any post-
              conviction proceeding on any ground, except that the
              defendant may file a direct appeal of an upward
              departure from the otherwise applicable sentencing
              guideline range. The defendant understands that this Plea
              Agreement does not limit the Government’s right to
              appeal, but if the Government appeals the sentence
              imposed, the defendant may also file a direct appeal of
              his sentence.

(See Guilty Plea and Plea Agreement [104] at 6.)

       During the tender of Movant’s plea, the Court questioned him in some detail

about whether he suffered from any condition or was taking any medication that

might interfere with his ability to understand the plea proceedings or the questions

by the Court—questions that he answered in the negative. (See Tr. of Guilty Plea

Proceedings [169] at 3-5.) The Court additionally questioned Movant extensively

about the appeal waiver referenced above:
Case 1:03-cr-00400-RWS-ECS Document 180 Filed 12/10/07 Page 3 of 13




     THE COURT:        I want to touch on a couple of matters in your
                       agreement, and one of those relates to this what is
                       referred to as Blakely issue that you are waiving in
                       your agreement. Do you understand that a case has
                       been decided by the Supreme Court of the United
                       States called Blakely v. Washington that has at
                       least called into question whether the Federal
                       Sentencing Guidelines should be used or not?
     MOVANT:           Yes.

     THE COURT:        Do you understand that you are agreeing that the
                       Court will use the Federal Sentencing Guidelines
                       regardless of what the Supreme Court ultimately
                       decides about those Guidelines under Blakely, the
                       you’re agreeing that I will use the Federal
                       Sentencing Guidelines and you will not challenge
                       that under Blakely?
     MOVANT:           Yes, sir.

     THE COURT:        Okay. You also understand that an appeal is
                       basically the only opportunity you have for other
                       judges to look at my decision about your sentence
                       to determine if I have done the right thing or not
                       under the law?
     MOVANT:           Yes, sir.

     THE COURT:        And you understand that you have given up your
                       right to appeal except in a couple of very specific
                       circumstances. One is if when I use those Federal
                       Sentencing Guidelines and I calculate the
                       Guidelines for your case, if I decide to impose a
                       greater sentence than what is called for by the
                       Guidelines, that is, if I upwardly depart from the
                       Guidelines, you would have a right to appeal that.
    Case 1:03-cr-00400-RWS-ECS Document 180 Filed 12/10/07 Page 4 of 13




          MOVANT:             Yes.

          THE COURT:          If the government chooses to file an appeal for
                              some reason from the sentence that I impose, then
                              you would have the right to raise issues on appeal.
                              Do you understand that?

          MOVANT:             Yes.
          THE COURT:          Do you understand other than that, this sentence
                              will not be reviewed, you will not have an
                              opportunity to have the Court of Appeals review
                              the sentence?
          MOVANT:             Yes.

(Id. at 8-10.) The Court continued:

          THE COURT:          [To Movant:] Do you feel that you have had a
                              sufficient opportunity to talk about your case with
                              Mr. Samuel and to have him advise you concerning
                              the entry of this plea?
          MOVANT:             Yes, sir.

          THE COURT:          And are you satisfied with the representation he’s
                              provided to you?

          MOVANT:             Yes, sir.

          THE COURT:          Mr. Samuel, do you believe you’ve had a sufficient
                              opportunity to investigate your client’s case and
                              advise him?

          SAMUEL:             Yes, Your Honor.
     Case 1:03-cr-00400-RWS-ECS Document 180 Filed 12/10/07 Page 5 of 13




               THE COURT:      Are you aware of any reason I should not accept
                               his plea?
               SAMUEL:         I’m aware of no reason, Your Honor.
(Id. at 14.)

       At the conclusion of the plea, and after engaging in the Rule 11 colloquy, the

Court found that Movant understood “the charge and the consequences of his

plea,” did not appear “to be under the influence of any substance which might

affect his judgment or actions in any manner[,]” that his plea was “voluntarily

made with full knowledge of the charge against him and the consequences of his

plea[,]” and that he was “competent to understand the[ ] proceedings and to enter a

knowing plea of guilty[.]” Accordingly, the Court accepted his plea. (Id. at 15.)

        By Judgment entered December 9, 2004, the Court sentenced Movant to

188 months imprisonment and five years of supervised release. (See Judgment and

Commitment [131].) Movant filed no appeal. Thus, Movant’s conviction became

final ten days after judgment was entered (excluding holidays and weekends), on

December 23, 2004.

                                     Discussion

I.     Movant’s First Motion to Vacate, Set Aside, or Correct Sentence

       By a Motion dated November 22, 2005, but entered on the docket on May

15, 2006, the Movant filed his First Motion to Vacate, Set Aside, or Correct
     Case 1:03-cr-00400-RWS-ECS Document 180 Filed 12/10/07 Page 6 of 13




Sentence [167].1 In support of his Motion, Movant asserts three grounds for relief.

Ground 1 asserts that counsel was ineffective by (1) failing to object to the

Presentence Report, which he claims relied upon an “uncounselled guilty plea.”

(Mot. at 5-1.); (2) failing to properly advise Movant as to the applicable sentencing

range; (3) failing to object to the drug quantities calculated at sentencing; (4)

failing to prepare an adequate case during sentencing; (5) failing to properly

investigate and research Movant’s case before rendering his guilty plea; and (6)

failing to object to the denial of complete credit for acceptance of responsibility.

Ground 2 asserts that, because of ineffective assistance of counsel, Movant’s guilty

plea was not entered knowingly, intelligently, and voluntarily. And finally,

Ground 3 asserts that the district court erred in finding facts in support of

increasing his sentence, violating United States v. Booker, 543 U.S. 220, 125 S. Ct.

738, 160 L. Ed. 2d 621 (2005), and counsel was ineffective for failing to object on

the basis of Booker.

       28 U.S.C. § 2255 requires that notice of a motion brought under that section

shall be served upon the U.S. attorney “unless the motion and the files and records

of the case conclusively show that the Movant is entitled to no relief.” 28 U.S.C. §



       1
          For purposes of Movant’s first Motion to Vacate, the court assumes, without deciding,
that the Petition is timely. Moreover, Movant’s “Motion Requesting Judicial Notice,” [174]
which seeks to supplement the record concerning the timeliness of his First Motion to Vacate, is
construed as a Motion to Supplement and hereby GRANTED.
    Case 1:03-cr-00400-RWS-ECS Document 180 Filed 12/10/07 Page 7 of 13




2255. “Relief under 28 U.S.C. § 2255 ‘is reserved for transgressions of

constitutional rights and for that narrow compass of other injury that could not

have been raised on direct appeal and would, if condoned, result in a complete

miscarriage of justice.’ ” Richards v. United States, 837 F.2d 965, 966 (11th Cir.

1988) (quoting United States v. Capua, 656 F.2d 1033, 1037 (5th Cir. 1981)).

Where the “files and records make manifest the lack of merit of a Section 2255

claim,” no evidentiary hearing is required. See United States v. Lagrone, 727 F.2d

1037, 1038 (11th Cir. 1984).

      By virtue of Movant’s waiver of appeal, Movant has waived all

nonjurisdictional objections he may have to his conviction and sentence except an

attack on the voluntariness of his plea. See United States v. Broce, 488 U.S. 563,

569, 109 S. Ct. 757, 102 L. Ed. 2d 927 (1989) (“[W]hen the judgment of

conviction upon a guilty plea has become final and the offender seeks to reopen the

proceeding, the inquiry is ordinarily confined to whether the underlying plea was

both counseled and voluntary. If the answer is in the affirmative then the

conviction and the plea, as a general rule, foreclose the collateral attack.”);

Williams v. United States, 396 F.3d 1340, 1342 (11th Cir. 2005) (“It is well-settled

that sentence-appeal waivers are valid if made knowingly and voluntarily.”);

Wilson v. United States, 962 F.2d 996, 997 (11th Cir. 1992) (“A defendant who

enters a plea of guilty waives all nonjurisdictional challenges to the
    Case 1:03-cr-00400-RWS-ECS Document 180 Filed 12/10/07 Page 8 of 13




constitutionality of the conviction, and only an attack on the voluntary and

knowing nature of the plea can be sustained.”). An appeal waiver also operates to

foreclose even a claim predicated on ineffective assistance of counsel, with the

limited exception of a claim of “ineffective assistance in entering or negotiating the

plea.” Williams, 396 F.3d at 1342 n.2; id. at 1342 (“[A] valid sentence-appeal

waiver, entered into voluntarily and knowingly, pursuant to a plea agreement,

precludes the defendant from attempting to attack, in a collateral proceeding, the

sentence through a claim of ineffective assistance of counsel during sentencing.”).

Because Grounds 1 and 3 rest on claims that do not involve ineffective assistance

in entering or negotiating Movant’s guilty plea, they are foreclosed by Movant’s

appeal waiver.

      Movant’s only avenue for redress is vis-a-vis Ground 2, in which he claims

that counsel was ineffective for failing to properly advise Movant in entering or

negotiating the plea. But Movant’s allegations that his plea was unlawfully

induced and not voluntary because his counsel provided ineffective assistance to

him before entering his plea is entirely unsupported by evidence or testimony, and

refuted by Movant’s own statements at the plea proceeding.

      The plea hearing transcript reflects that Movant affirmatively expressed to

this Court that he understood the elements of the offense to which he was pleading

and the maximum penalties for each offense. (Plea Tr. at 10-14.) During the plea
    Case 1:03-cr-00400-RWS-ECS Document 180 Filed 12/10/07 Page 9 of 13




colloquy, the Court reviewed each individual element with the Movant. (Id.)

Furthermore, Movant represented to this Court not only that his counsel had

adequately advised him as to the specifics of the indictment, but also that he was

satisfied with the advice of his attorney. (Id. at 14.)

      “The purpose of a plea colloquy is to protect the defendant from an

unintelligent or involuntary plea.” Mitchell v. United States, 526 U.S. 314, 322,

119 S. Ct. 1307, 143 L. Ed. 2d 424 (1999). Thus, there is a strong presumption

that statements made during the plea colloquy are true. United States v. Gonzalez-

Mercado, 808 F.2d 796, 800 n.8 (11th Cir. 1987). Where a Movant merely alleges

ineffective assistance of counsel in a motion to vacate without providing

supporting evidence, and the record indicates that the allegation lacks merit, the

Court is not required to hold an evidentiary hearing. See United States v. Baskin,

858 F. Supp. 1165, 1167 (M.D. Fla. 1994); see United States v. Lagrone, 727 F.2d

1037, 1038 (11th Cir. 1984) (stating that where “files and records make manifest

the lack of merit of a Section 2255 claim,” no evidentiary hearing is required).

      The record reflects that Movant offered his guilty plea both knowingly and

voluntarily. He did so with the advice of counsel, and he did so after representing

that he understood the charges against him, understood the consequences of his

plea, and was satisfied with the advice of counsel. Movant has introduced no

evidence in support of his claim that the advice offered by defense counsel was
      Case 1:03-cr-00400-RWS-ECS Document 180 Filed 12/10/07 Page 10 of 13




objectively unreasonable or that advice had a prejudicial effect on the outcome of

his case. Accordingly, the motion, files, and record of this case conclusively show

that Movant is not entitled to relief. For that reason, Movant’s Motion to Vacate,

Set Aside, or Correct Sentence pursuant to 28 U.S.C. § 2255 [167] must be

DENIED.

II.     Movant’s Second Motion to Vacate, Set Aside, or Correct Sentence

        By Motion dated April 6, 2007, Movant filed a Second Motion to Vacate,

Set Aside, Or Correct Sentence [177], over two years after December 23, 2004, the

date his conviction became final. In his Second Motion, Movant contends that his

Sentence was enhanced based on a prior state conviction that he claims “had been

voided” and “dissolved” since July 12, 1996. Movant has not attached any

evidence to support his claim that his sentence was enhanced based upon a non-

existent or nullified state conviction.

        Paragraph 8 of 28 U.S.C. § 2255 provides:

        A second or successive motion must be certified . . . by a panel of the
        appropriate court of appeals to contain—

              (1)    newly discovered evidence that, if proven and viewed in light
                     of the evidence as a whole, would be sufficient to establish by
                     clear and convincing evidence that no reasonable factfinder
                     would have found the movant guilty of the offense; or

              (2)    a new rule of constitutional law, made retroactive to cases on
                     collateral review by the Supreme Court, that was previously
                     unavailable.
       Case 1:03-cr-00400-RWS-ECS Document 180 Filed 12/10/07 Page 11 of 13




28 U.S.C. § 2255, ¶ 8 (emphasis added).

         Given the posture of this case, Movant is unable to avail himself of a second

or successive motion to vacate brought under 28 U.S.C. § 2255. Movant has failed

to obtain certification from the Court of Appeals. Id.; see also Gonzales v.

Secretary for Dept. of Corrections, 366 F.3d 1253, 1260 (11th Cir. 2004) (stating

that a district court “ha[s] no choice but to deny” a successive motion under 28

U.S.C. § 2255 if the movant fails to obtain a certificate from the Court of Appeals)

         Even if this Court were to consider the merits of Movant’s Second Motion to

Vacate, by construing it as a Motion for Leave to Amend his First Motion to

Vacate pursuant to Mederos v. United States, 218 F.3d 1252, 1254 (11th Cir.

2000), the Court would nevertheless conclude that it was meritless on its face. As

discussed above, the appeal waiver entered into by Movant precludes him from

making nonjurisdictional challenges to the validity of his sentence. See Wilson,

962 F.2d at 997.

         Accordingly, Movant’s Second Motion to Vacate, Set Aside, Or Correct

Sentence [177] is DENIED. Movant’s related Motion to Proceed in Forma

Pauperis [178] is DENIED as moot.

III.     Motion to Reduction of Sentence Under 18 U.S.C. § 3582(c)(2).

         Movant moves for a reduction of sentence under 18 U.S.C. § 3582(c)(2),

arguing that Amendment 9, effective on November 1, 2007, reduced by two levels
    Case 1:03-cr-00400-RWS-ECS Document 180 Filed 12/10/07 Page 12 of 13




the base offense score of the crime of which he was convicted. Movant requests

that the Court find Amendment 9 retroactive and modify his sentence from a base

offense level of 35 (guideline range of 168-210 months) to a base offense level of

33 (guideline range of 125-168 months). Because the Court is not authorized to

modify Defendant’s sentence on the basis of Amendment 9, it must decline

Movant’s request.

      A court is generally forbidden from modifying a term of imprisonment once

it has been imposed. 18 U.S.C. § 3582. However, “in the case of a defendant who

has been sentenced to a term of imprisonment based on a sentencing range that has

subsequently been lowered by the Sentencing Commission,” upon a defendant’s

motion, “the court may reduce the term of imprisonment, after considering the

factors set forth in section 3553(a) to the extent that they are applicable, if such a

reduction is consistent with applicable policy statements issued by the Sentencing

Commission.” 18 U.S.C. § 3582(c)(2) (emphasis added).

      The United States Sentencing Commission has issued a policy statement

providing that a court may only modify a sentence based upon a post-sentence

amendment to the Sentencing Guidelines if the Amendment is explicitly listed in

U.S.S.G. § 1B1.10(c). See U.S.S.G. § 1B1.10(a) (“If none of the amendments

listed in subsection (c) is applicable, a reduction in the defendant’s term of

imprisonment under 18 U.S.C. § 3582(c)(2) is not consistent with this policy
   Case 1:03-cr-00400-RWS-ECS Document 180 Filed 12/10/07 Page 13 of 13




statement and thus is not authorized.”). Amendment 9 is not listed in U.S.S.G. §

1B1.10(c). Because Amendment 9 is not explicitly listed in U.S.S.G. § 1B1.10(c),

the Court is without authority to modify Movant’s sentence. See United States v.

Pringle, 350 F.3d 1172, 1181 (11th Cir. 2003) (“Because no amendment listed in

U.S.S.G. § 1B1.10(c) applies, a reduction in Pringle’s term of imprisonment under

18 U.S.C. § 3582(c)(2) is not appropriate.”). Accordingly, Movant’s Motion for

Reduction of Sentence is DENIED.

                                   Conclusion

      For the foregoing reasons, Movant’s First Motion to Vacate, Set Aside, or

Correct Sentence pursuant to 28 U.S.C. § 2255 [167] is DENIED. Movant’s

“Motion Requesting Judicial Notice” [174], which the Court construes as a Motion

to Supplement, is GRANTED. Movant’s Second Motion to Vacate, Set Aside, or

Correct Sentence [177] is DENIED. Movant’s Motion to Proceed in Forma

Pauperis [178] is DENIED as moot. Movant’s Motion for Reduction of Sentence

[179] is DENIED.

      SO ORDERED this 10th day of December, 2007.



                                         _______________________________
                                         RICHARD W. STORY
                                         UNITED STATES DISTRICT JUDGE
